
65 So. 3d 50 (2011)
Michael Lorenzo DENNISON, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-0785.
District Court of Appeal of Florida, First District.
May 27, 2011.
Rehearing Denied July 13, 2011.
Michael Lorenzo Dennison, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
DENIED. See Williams v. State, 54 So. 3d 529 (Fla. 1st DCA 2011); see also McKinney v. Yawn, 625 So. 2d 885 (Fla. 1st DCA 1993).
DAVIS, LEWIS, and WETHERELL, JJ., concur.
